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                                CERTIFICATE OF SERVICE

       I hereby certify that on this 23rd day of December 2019, a true and correct copy of the
foregoing was served by U.S. Mail on the following:

       Matthew Sarac
       8411 Sedonia Drive
       Estero, Florida 33967

       Sarac Distributors LLC
       6391 Corporate Park Circle, Suite 1
       Fort Myers, Lee County, Florida 33966

       Yavex LLC
       6391 Corporate Park Circle, Suite 1
       Fort Myers, Lee County, Florida 33966

                                              By:____/s/ Mehmet Baysan_______________
                                                  Mehmet Baysan
